                Case: 2:25-mj-00270-KAJ Doc #: 1 Filed: 05/08/25 Page: 1 of 1 PAGEID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Ohio

                  United States of America                          )
                             v.                                     )
                                                                    )     Case No. 2:25-mj-270
                    Ronald E. Lidderdale                            )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               July 2024 to May 8, 2025         in the county of               Franklin        in the
     Southern          District of             Ohio            , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 875(c)                              Interstate communications with a threat to kidnap or injure
18 U.S.C. § 876                                 Mailing threatening communications
18 U.S.C. § 1038(a)(1)                          False information and hoaxes
18 U.S.C. § 2261A(2)                            Cyberstalking




         This criminal complaint is based on these facts:

See attached affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature
                                                                                              Compla

                                                                                       Brock Flint, Special Agent, FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.

              May 8, 2025
Date:
                                                                                                 Judge’s signature
                          Columbus, Ohio
City and state:                                                               Honorable Kimberly A. Jolson, Magistrate Judge
                                                                                               Printed name and title
